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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

DEMARIO MATTHEWS,

       Plaintiff,                                  CASE NO.: 3:18-cv-00066-JHM

-vs-

CREDIT ACCEPTANCE CORPORATION

       Defendant.
                                       /

             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       COMES NOW the Plaintiff, DEMARIO MATTHEWS, by and through his undersigned

attorney, and hereby gives Notice to the Court of a Retail Installment Sales Contract (“RISC”),

which contains an arbitration provision which governs the matters at issue in this action. Pursuant

to that RISC, the parties are to submit to binding non-judicial arbitration upon demand by either

party. The parties have agreed to arbitrate this matter, and therefore Plaintiff hereby files this

Notice of Voluntary Dismissal without Prejudice, of the above captioned matter.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document has been

furnished via E-Filing on this 19th day of February, 2018, to all parties of record.


                                              /s/ Shaughn C. Hill, Esquire
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